                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF WISCONSIN
 __________________________________________________________________________________________

In the Matter of:                                                      Chapter 13
FRANS DEBOER                                                           Case No. 13-25847-GMH

             Debtor.
________________________________________________________________________________________

     NOTICE OF TELEPHONE HEARING ON TRUSTEE'S OBJECTION TO CONFIRMATION
__________________________________________________________________________________________

PLEASE TAKE NOTICE that Scott Lieske, Standing Chapter 13 Trustee has filed papers with the court objecting
to the proposed Chapter 13 plan filed by the Debtor.

Your rights may be affected. You should read these papers carefully and discuss them with your attorney,
if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult one.)

A telephone hearing will be held before the Honorable G. Michael Halfenger, United States Bankruptcy Judge, on
December 12, 2017 at 2:30 p.m., to consider the Trustee's Objection to Confirmation. To appear by telephone,
you must call the Court conference line at 1-888-684-8852, access code 7183566 before the scheduled
hearing time. Please note that the Court may already be in session, so please wait quietly on the telephone for
your case to be called.


        Dated at Milwaukee, Wisconsin, on November 29, 2017.




                                                /s/________________________
                                                Scott Lieske, Trustee
                                                Robert W. Stack, Staff Attorney
                                                Christopher D. Schimke, Staff Attorney
                                                Sandra M. Baner, Staff Attorney
                                                Chapter 13 Standing Trustee
                                                P.O. Box 510920
                                                Milwaukee, Wisconsin 53203
                                                T: (414) 271-3943
                                                F: (414) 271-9344




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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF WISCONSIN
___________________________________________________________________________________________
In the Matter of:
FRANS DEBOER                                        Chapter 13
                                                    Case No. 13-25847-GMH
                 Debtor.
___________________________________________________________________________________________

  TRUSTEE’S OBJECTION TO CONFIRMATION OF DEBTOR'S PROPOSED CHAPTER 13 PLAN
___________________________________________________________________________________________


The Trustee, Scott Lieske, hereby objects to the proposed Chapter 13 Plan in this bankruptcy proceeding for the
following reason(s):

        The proposed plan is not substantiated by a budget.

        The debtor will be unable to make all the payments under the proposed plan or to otherwise comply with
        the terms of the proposed plan. 11 U.S.C. §1325(a)(6).

        The amended plan proposes a $1,600.00 per month payment. The only budget on file shows disposable
        income of $695.00 per month.


        Dated at Milwaukee, Wisconsin, on November 29, 2017


                                                OFFICE OF CHAPTER 13 TRUSTEE

                                                /s/__________________________________
                                                Scott Lieske, Chapter 13 Trustee
                                                Robert W. Stack, Staff Attorney
                                                Christopher D. Schimke, Staff Attorney
                                                Sandra M. Baner, Staff Attorney

P.O. ADDRESS:
P.O. Box 510920
Milwaukee, WI 53203
414-271-3943
414-271-9344 (Fax)
info@chapter13milwaukee.com




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                                 UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF WISCONSIN

  In the Matter of:                                                 Chapter 13
  FRANS DEBOER                                                      Case No. 13-25847-GMH

                              Debtor.


                                         CERTIFICATE OF SERVICE


        I hereby certify that on November 29, 2017, the TRUSTEE’S OBJECTION TO CONFIRMATION
OF DEBTOR'S PROPOSED CHAPTER 13 PLAN and NOTICE OF TELEPHONE HEARING ON
TRUSTEE'S OBJECTION TO CONFIRMATION in this case were electronically filed with the Clerk of
Court and served upon the following parties using the ECF system:

                        OFFICE OF THE U.S. TRUSTEE
                        NICKOLAI & POLETTI, LLC

      I further certify that I have mailed by United States Postal Service the same documents to the following
non-ECF participants:

                        FRANS DEBOER
                        1240A NORTH 46TH STREET
                        MILWAUKEE, WI 53208

        Dated: November 29, 2017


                                                /s/_____________________________
                                                Jolene Parker
                                                Administrative Assistant
                                                Office of the Chapter 13 Trustee
                                                P.O. Box 510920
                                                Milwaukee, WI 53203
                                                T: (414) 271-3943
                                                F: (414) 271-9344




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